                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                               DOCKET NO. 3:01-CR-00185-FDW-1
                                    (3:07-CV-00408-FDW)


 LINWOOD GERALD KEENY,                             )
                                                   )
                 Petitioner,                       )
                                                   )
         vs.                                       )                    ORDER
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                 Respondent.                       )
                                                   )

       THIS MATTER comes now before the Court upon Petitioner’s renewed motion for an

evidentiary hearing (Doc. No. 179, Case No. 3:01-CR-00185) and his oral motion requesting certain

tape recorded conversations with his former attorney, Richard A. Culler (Doc. No. 7, Case No. 3:07-

CV-00408). Although the Court initially converted Petitioner’s Motion into a Motion to Vacate, Set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255, the Court now sees that such conversion

was not warranted. Instead, Petitioner’s Motion will simply be construed as a criminal motion

contesting the Government’s failure to file a motion pursuant to Rule 35 of the Federal Rules of

Criminal Procedure. For the reasons stated below, Petitioner’s Motion for a hearing is DENIED.

Because the Court deems a hearing unnecessary, Petitioner’s Motion for tape recorded conversations

is also DENIED.

       The Court has already summarized the facts of this case in a previous Order. (See Doc. No.

177). It is sufficient for present purposes to state that Petitioner, by pleading guilty to two counts,

including committing an act of murder during the course of a drug trafficking crime, obtained a plea




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agreement under which he would receive a thirty-year sentence, thereby escaping the potential for

a death penalty sentence or a term of life imprisonment. In return for this agreement and potential

reduction in sentence from death or life in prison to thirty years, Petitioner agreed to “testify

truthfully in any trial, hearing, or grand jury proceeding, including but not limited to testimony

against any co-defendants, as the United States designates.” Despite this pre-existing requirement

that he testify against his co-defendants in order to satisfy the terms of his plea agreement, Petitioner

now contends that he was promised an additional sentence reduction, from thirty years to fifteen

years, for his testimony against a co-defendant. It is based on this alleged promise of a 50%

reduction in an already reduced sentence that Petitioner now seeks an evidentiary hearing.

        The Court initially denied Petitioner’s motion, observing:

        [D]efendant has failed to proffer a scintilla of evidence to support his all but absurd
        assertion of an oral, post-plea agreement for a reduced sentence. Nor has it escaped
        the Court’s attention that pursuant to the terms of his written Agreement, the
        petitioner already was obligated to testify against his codefendants if requested to do
        so by the government. Furthermore, that Agreement did not obligate the government
        to reward the defendant’s cooperation with a reduced sentence. Therefore, the Court
        cannot conceive why the government would have made any additional agreement
        with the defendant. To put it simply, the defendant’s assertion does not have a ring
        of truth to it and, in any case, he is not entitled to a hearing on this matter.

After Petitioner filed his renewed motion for a hearing, the Court deemed it prudent to expand the

record to include a statement from Karen Marston, the Assistant United States Attorney who

allegedly promised the sentence reduction.1 In response to this accusation, the Government filed the

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         The Court notes that, according to Petitioner’s own motions, only defense counsel
Richard A. Culler made any explicit reference to a fifteen-year sentence reduction. See Doc. No.
159 at 3 (“Counsel for petitioner assured him of a fifteen (15) year reduction . . . .”); Doc. No.
179 at 2 (“Attorney Culler assured petitioner in exchange for his assistance, there would be a 15
year reduction in sentence . . . .”). Such claims are irrelevant to Petitioner’s instant motion.
Petitioner did, of course, retain the right under his plea agreement to file a motion alleging
ineffective assistance of counsel pursuant to 28 U.S.C. § 2255. The Court expresses no opinion
here as to the merit, or lack thereof, that any such motion would have, other than to say that the
one-year limitation within that statute appears to have run.


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sworn affidavit of Ms. Marston, in which she states:

       At no time during any communication with [Petitioner] did I promise he would
       receive any sentencing relief in exchange for his cooperation. . . . [Petitioner’s]
       statement that I promised a fifty-percent (50%) sentencing reduction in exchange for
       his assistance is false. Not only did I not make such a promise to [Petitioner], but it
       is my practice always to make clear to defendants seeking a sentence reduction that
       I cannot promise a reduction in their sentence.

(Marston affidavit ¶¶ 5-7, Doc. No. 5, Case No. 3:07-CV-00408). Thus, Ms. Marston, in a sworn

affidavit to the Court, unequivocally denies ever having promised Petitioner the unlikely post-plea,

pre-sentence reduction he now alleges.

       The problems with Petitioner’s Motion, both legal and factual, are many. As the Court stated

in its previous Order, Petitioner does not state any authority that would entitle him to a sentence

reduction three years after this Court’s judgment became final.2 Additionally, Petitioner provides

no facts that make his claim credible. Petitioner’s plea agreement obligated him to testify against

his co-defendants. Despite this fact, he alleges that he was promised a reduction in sentence for

doing just that. Even if such a promise were theoretically credible, the sworn affidavit of Karen

Marston unequivocally denies and refutes such an allegation. Petitioner’s main argument seems to

be with his former attorney, Richard A. Culler. Such an argument, however, is irrelevant to

Petitioner’s current motion and allegations against the Government. Finally, however, there is the

insurmountable problem that Petitioner, in the Court’s opinion, has not provided assistance

substantial enough to justify a reduction in his sentence. Although Petitioner did appear as a witness

against one of his co-defendants, Joe Anthony Brown, the Court has already noted that such

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         Petitioner provides numerous case law citations for the principle that the Court may
review the breach of a plea agreement. There is no evidence, however, that Petitioner’s plea
agreement of May 1, 2001, was ever breached. On the contrary, Petitioner received a thirty-year
sentence for crimes that would otherwise have been punishable by death or life in prison.
Petitioner’s allegations that there was a subsequent agreement for cooperation do not amount to
allegations of a new plea agreement, but rather assurances of a Rule 35 motion.


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assistance was already required under Petitioner’s written plea agreement. Nothing in Petitioner’s

motions show how he has done anything that would persuade the Court to accept a Rule 35 motion

to reduce his sentence. For this reason, even assuming that the Government made the promise

Petitioner alleges, and even assuming that it had now brought a Rule 35(b) motion, the Court would

still decline to exercise its discretion to reduce Petitioner’s sentence.3 Therefore, there are no set of

facts under which Petitioner’s allegations could lead to the sentence reduction he seeks. For this

reason, the Court considers an evidentiary hearing to be unnecessary.

        For the reasons stated above, Petitioner’s Renewed Motion for an evidentiary hearing is

DENIED. Because the Court deems an evidentiary hearing unnecessary, Petitioner’s Motion for tape

recorded conversations is also DENIED.

        IT IS SO ORDERED.                          Signed: November 26, 2007




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        “[The] decision of a district court not to depart downward in response to the
Government’s substantial assistance motion based upon a defendant’s assistance prior to
sentencing is unreviewable.” United States v. Pridgen, 64 F.3d 147, 149 (4th Cir. 1995). The
Fourth Circuit went on to hold that the same reasoning applied to assistance provided subsequent
to sentencing. Id. at 149-50.


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